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16                             UNITED STATES DISTRICT COURT
17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION
18
   IN RE META PIXEL HEALTHCARE
19 LITIGATION
                                                        Case No. 3:22-cv-3580-WHO (VKD)
20 This Document Relates to:
                                                        JOINT CASE MANAGEMENT
21                                                      STATEMENT
     All Actions.
22                                                      Date: April 29, 2025
                                                        Time: 2:00 p.m.
23                                                      Courtroom: Videoconference
                                                        Judge: The Honorable William H. Orrick
24

25
                                         FILED UNDER SEAL
26

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                           JOINT CASE MANAGEMENT STATEMENT - 1
                                Case No. 3:22-cv-3580-WHO (VKD)
